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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                               )
SHANA BUGGS,                                   )
                                               ) Case No.: 1:16-cv-03114-JKB
               Plaintiff,                      )
               v.                              )
                                               )
                                               )
SOUTHWEST CREDIT SYSTEMS, L.P.,
                                               )
                                               )
               Defendant.                      )
                                               )
                                               )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and with each party to bear its own costs and fees.


/s/ Jeffrey Friedman                           /s/ Amy L. Bennecoff Ginsburg
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                                                Attorney for Plaintiff
Date: March 8, 2017
                                               Date: March 8, 2017



                                     BY THE COURT:



                                     _________________________
                                                             J.
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                            CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing on this 8th day of March, 2017:



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